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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION

SHANIKA DAY, individually, and as     )
Administrator for the Estate of TERRELL,
                                      )
DAY, and HARVEY MORGAN, Individually, )
                                      )
                 Plaintiffs,          )
                                      )
                                                          Case No. 1:17-cv-4612
vs.                                   )
                                      )
THE CITY OF INDIANAPOLIS and THE TOWN )
OF CUMBERLAND,                        )
                                      )
                 Defendants.          )

                                  NOTICE OF REMOVAL

       PLEASE TAKE NOTICE that Defendant, Town of Cumberland, by counsel and pursuant

to 28 U.S.C. §§1441(a) and 1446, hereby removes to this Court the state court action described

herein. The grounds for removal are as follows:

       1.     On September 22, 2017 Plaintiff’s filed a Complaint for Damages in Marion

County Superior Court, Civil Division 6, under Cause Number 49D10-1709-CT-036087. A

copy of the Complaint for Damage is attached hereto as Exhibit A.

       2.     On November 7, 2017, Plaintiff’s filed a Motion for Leave to File an Amended

Complaint. A copy of the Amended Complaint for Damages is attached hereto as Exhibit B.

       3.     On November 29, 2017 Judge David J Dreyer, Marion Superior Court 10, granted

Plaintiffs leave to file an Amended Complaint for Damages, Cause Number 49D10-1709-CT-

036087. A copy of Judge Dreyer’s Order is attached as Exhibit C.

       4.     In the Amended Complaint for Damages, the Plaintiff alleges rights violations by

Defendants which can be interpreted to be violations under the Fourth and Fourteenth




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Amendments to the United States Constitution and it can be further interpreted that Plaintiff is

pursuing this claim under 42 U.S.C. §1983.

         5.    This Notice of Removal has been timely filed pursuant to 28 U.S.C. §1446(b),

and a copy of all process and pleadings served upon Defendants in the state court action are

attached hereto.

         6.    This action is a civil action of which this Court has original jurisdiction under 28

U.S.C. §1331, and is one which may be removed to this Court by Defendants under 28 U.S.C.

§1441.

         WHEREFORE, Defendants hereby request this action removed to the United States

District Court for the Southern District of Indiana.


                                      Respectfully submitted,

                                         /s/ David A. Izzo
                                             David A. Izzo (28196-49)
                                             Selective Staff Counsel of Indiana
                                             11711 N. Meridian Street, Suite 755
                                             Carmel, Indiana 46032
                                             Office: (317) 815-4774
                                             Direct: (317) 815-4773
                                             Fax:    (855) 515-8240
                                             Email: david.izzo@selective.com




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                                CERTIFICATE OF SERVICE

       I hereby certify the foregoing NOTICE OF REMOVAL was electronically filed on this

14th day of December, 2017 through the Court’s CM/ECF system, and the following parties

were served via CM/ECF system and/or e-mail on the same date:

Nathaniel Lee, Esq.
Jennifer Lee, Esq.
nlee@nleelaw.com
Jlee@nleelaw.com

Adam S. Willfond, Esq.
Adam.willfond@indy.gov

                                          /s/ David A. Izzo
                                          David A. Izzo
                                          Selective Staff Counsel of Indiana




Selective Staff Counsel of Indiana
11711 N. Meridian Street, Suite 755
Carmel, Indiana 46032
Office: (317) 815-4774
Direct: (317) 815-4773
Fax:    (855) 515-8240
david.izzo@selective.com




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                                 EXHIBIT A
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 STATE OF INDIANA                            )       IN THE MARION SUPERIOR COURT
                                             ) SS:   CIVIL DIVISION, ROOM NO:10
 COUNTY OF MARION                            )

 SHANIKA DAY, Individually, and as Administrator            )
 for the Estate of TERRELL DAY, and                         )
 HARVEY MORGAN, Individually                                )
                                                            )
               Plaintiffs,                                  ) NO. 49D10-1709-CT-036087

                                                            )
                                                            )
        vs.                                                 )
 THE CITY OF INDIANAPOLIS and,                              )
 THE TOWN OF CUMBERLAND                                     )
                                                            )
                                                            )
                                                            )
                                                            )
               Defendant(s)                                 )


                         AMENDED COMPLAINT FOR DAMAGES:

        Come now the Plaintiffs, Shanika Day, individually, and as Administrator for the Estate of

 Terrell Day, and Harvey Morgan, Individually, by Counsel, and for a cause of action against the

 Defendants, THE CITY OF INDIANAPOLIS (“CITY”) and THE TOWN OF CUMBERLAND

 (“CUMBERLAND”), and alleges and states:

        1. That SHANIKA DAY is the biological mother of Deceased Terrell Day, and is

           appointed to represent the estate and pursue any and all civil actions against the

           Defendants for the wrongful death of Terrell Day (“Decedent”). Said estate is filed in

           Marion County, Indiana, under Cause Number 49D08-1509-ES-032278.

        2. That HARVEY MORGAN is the biological father of Deceased Terrell Day, and at all

           times material and relevant herein has resided in the City of Indianapolis, County of

           Marion, State of Indiana.


                                                EXHIBIT B
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       3. That at all times relevant and material to this cause of action, Defendant, the CITY was

            a municipal corporation in the State of Indiana and employer of OFFICER RANDALL

            DENNY and SERGEANT FRANKLIN WOOTEN.

       4. That at all times relevant and material to this cause of action OFFICER RANDALL

            DENNY and SERGEANT FRANKLIN WOOTEN were employees and/or agents of

            the CITY and acting under color of the law through their duties as Police Officers.

       5. That at all times relevant and material to this cause of action, Defendant, TOWN OF

            CUMBERLAND was a municipal town corporation in Marion County, State of

            Indiana, and employer of LIEUTENANT ROGER WAGGONER and OFFICER

            JOHN COVINGTON.

       6.   WAGGONER and COVINGTON were employees of, and acting under the color of

            the law through certain statutes, customs, ordinances, and official policies of the

            TOWN OF CUMBERLAND POLICE DEPARTMENT.

       7. On September 26, 2015, Terrell Day visited the Burlington Coat Factory located on

            East Washington Street, in Marion County, City of Indianapolis, State of Indiana.

       8. That to the best of Plaintiffs knowledge and belief, on the same date and time, Terrell

            Day was chased from the Burlington Coat Factory by a CUMBERLAND POLICE

            OFFICER, OFFICER J. COVINGTON, due to suspicion of theft.

       9. That to the best of Plaintiffs knowledge and belief, OFFICER J. COVINGTON chased

            Terrell Day approximately 450 meters; that the decedent had stopped, apparently

            fatigued and is believed to have experienced difficulty breathing, near the rear of a gas

            station located at 10th and Mitthoeffer Street.




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       10. That Terrell Day surrendered and did not pose a threat to OFFICERS WOOTEN,

          COVINGTON, WAGGONER, and DENNY or the public at large after his arrest.

       11. That either WOOTEN, COVINGTON, WAGGONER, or DENNY handcuffed Terrell

          Day placing his hands behind his back in a tightened manner. That the Officers knew

          or should have known that the handcuff was tightly fitted and Terrell Day was winded

          and was having trouble breathing.

       12. That after his arrest, Terrell Day was placed on the ground, on his back, on top of the

          handcuffs. That the placement by the Officers resulted in the inability to oxygenate

          from his winded condition.

       13. Terrell Day was required to remain in a position that restricted his ability to breath for

          an extended period of time under the circumstances.

       14. Meanwhile, Terrell Day was winded due to the physical activity of running, and lying

          in this position on the ground with his hands behind his back caused Terrell Day to lose

          oxygen at a greater rate of speed and unable to properly breath.

       15. That it is believed that the Officers, at least one or more of them, recognized or should

          have notice that Terrell Day was experiencing a medical emergency because medical

          personnel were summoned to the scene to render assistance to Terrell Day. That Terrell

          Day was unable to properly stand after medical personnel arrived.

       16. That medical personnel arrived at the scene in response to the request to provide

          assistance to Terrell Day.      That Terrell Day was still suffering from a medical

          emergency, however, SERGEANT FRANKLIN WOOTEN prevented transfer of the

          patient to the hospital by the waiver of rights and forgery of Terrell Day’s signature.




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            That at the time of signing/forging Terrell Day’s signature, medical personnel exited

            the scene and did not transport the patient to obtain medical care and treatments.

        17. Due to the failure to administer medical care, Terrell Day experienced a worsening of

            his condition and expired after the initial ambulance exited the scene.

          COUNT I: INTENTIONAL ACT OF EXCESSIVE FORCE BY CITY OF

                      INDIANAPOLIS AND TOWN OF CUMBERLAND

        Plaintiff incorporates by reference rhetorical paragraphs one (1) through seventeen (17)

 above as if fully set forth herein and makes further allegations and statements as follows:

                    18. On September 26, 2015, Defendants City of Indianapolis and Town of

            Cumberland,      through    its    employees/officers    WOOTEN,          COVINGTON,

            WAGGONER, and DENNY committed one or more of the following malicious and

            reckless acts and/or omissions:

                a. WOOTEN, COVINGTON, WAGGONER, or DENNY, during the course of

                    the arrest, wrongfully used excessive force in handcuffing and forcing Terrell

                    Day to lie on his back with his hands handcuffed behind him for an extended

                    period of time even though he was not resisting arrest or posing a threat.

                b. WOOTEN, COVINTON, WAGGONER, and DENNY did not properly assist,

                    aide, or seek prompt medical attention for Terrell Day despite knowledge that

                    Terrell Day was unable to breath.

                c. SERGEANT FRANKLIN WOOTEN intentionally and recklessly forged the

                    signature of Terrell Day waiving all medical treatment despite knowledge that

                    he was unable to breath.




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                d. That one of more of the Officers denied the decedent medical care, which

                       resulted in his demise.

                       19. That such acts and omission of WOOTEN, COVINGTON, WAGGONER,

            and DENNY constitute an unlawful, unnecessary punishment of Terrell day due to the

            officer’s intentional acts of excessive force. That all actions were committed during the

            course of their employment with the City of Indianapolis and Town of Cumberland.

                        COUNT II – NEGLIGENCE/WRONGFUL DEATH

        Plaintiff incorporates by reference rhetorical paragraphs one (1) through nineteen (19)

 above as if fully set forth herein and makes further allegations and statements as follows:

                       20.    On    September    26,   2015,   either   WOOTEN,     COVINGTON,

            WAGGONER, or DENNY while employed by the City of Indianapolis and the Town

            of Cumberland, and acting under the color of state law wrongfully positioned Terrell

            Day on the ground while handcuffed causing him to be unable to breath, and then

            denied Terrell Day medical treatment while in custody, despite knowledge that Terrell

            Day was unable to breath.

                       21.    WOOTEN, COVINGTON, WAGGONER, and DENNY negligently

            and/or intentionally deprived Terrell Day of sufficient oxygen which resulted in cardiac

            failure.

                       22.    That SERGEANT FRANKLIN WOOTEN, as an Officer with the City

            of Indianapolis, forged Terrell Day’s signature waiving all right to medical treatment

            despite his inability to breathe or stand at the time.

                       23.    The actions of the City of Indianapolis and Town of Cumberland,

            through its officers/employees, in failing to provide adequate medical treatment and




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            care for Terrell Day while in custody were reckless and negligent, and beyond all

            bounds of reasonable care.

                    24. WOOTEN, COVINGTON, WAGGONER, and DENNY failed to exercise

            the utmost reasonable due care and safety for Terrell Day after he was in police custody

            as required by Indiana law.

                    25. That due to the action of the Defendants Terrell Day died an untimely death.

                    26. That said negligence deprived the Terrell Day of his rights secured by the

            laws of Indiana and its constitution.

                          COUNT III - LOSS OF CHILD’S SERVICES

        Plaintiff incorporates by reference rhetorical paragraphs one (1) through twenty-six (26)

 above as if fully set forth herein and makes further allegations and statements as follows:

                    27.       Plaintiffs SHANIKA DAY and HARVEY MORGAN are the natural

            biological parents of Terrell Day, deceased.

                    28. Plaintiffs SHANIKA DAY and HARVEY MORGAN each separately, and

            respectfully, had a warm and loving relationship with their son, Terrell Day prior to his

            untimely death.

                    29. That due to the death of their son, Terrell Day, Plaintiffs SHANIKA DAY

            and HARVEY MORGAN have been deprived of Terrell Day’s love, companionship

            kindness.

                    30. Likewise, Plaintiffs suffer from the loss of Terrell Day’s services and other

            monetary contributions.

                    31. That due to the actions of the City of Indianapolis and Town of Cumberland,

            through its employees/officers Plaintiffs have been severely damaged.




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                                   DEMAND FOR JURY TRIAL

        Plaintiffs respectfully demand a jury trial in this matter for all issues triable by jury.

        WHEREFORE, Plaintiff, by Counsel, respectfully requests that this Honorable Court

 assume jurisdiction over this cause; declare the aforementioned conduct unlawful; award actual

 damages to Plaintiff to compensate her for her injuries; award damages to deter Defendants, and

 all other similarly situated, from like conduct in the future; grant Plaintiff the costs of this action

 and reasonable attorney fees; trial by jury; award pre-judgment and statutory interest; and for all

 other relief just and proper within the premises.

                                                         Respectfully Submitted,




                                                         _____________________________
                                                         Nathaniel Lee, #10159-49
                                                         Jennifer Lee, #34475-49




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                                 CERTIFICATE OF SERVICE

         The undersigned certifies that a true and correct copy of the foregoing pleading has been
 forwarded to the following counsel of record via the Court’s Electronic Filing System, on this the
 20th day of November, 2017:

 Adam S. Willfond, Esq.
 CORPORATION COUNSEL-CITY LEGAL
 200 E. Washington Street, Suite 1601
 Indianapolis, IN 46204
 adam.willfond@indy.gov


 David A.Izzo, Esq.
 Selective Staff Counsel of Indiana
 1 171 1 N. Meridian Street, Suite 755
 Carmel, Indiana 46032
 David.izzo@selective.com




                                                     ___________________________________
                                                     Nathaniel Lee

 Nathaniel Lee, Esq.
 Jennifer Lee, Esq.
 LEE COSSELL & CROWLEY, LLP
 151 N. Delaware Street, Suite 1500
 Indianapolis, Indiana 46204
 (317) 631-5151 Telephone / (317) 624-4561 Facsimile
 nlee@nleelaw.com / Jlee@nleelawa.com




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                                                            FILED
                                                             November 29, 2017

                                                           CLERK OF THE COURT
                                                             MARION COUNTY
                                                                         BW




                                     EXHIBIT C
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                                          November 29, 2017




                                    November 29, 2017
